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wEsTERN DlsTRlcT oF TENNEssEE H’"~`U

MEMPHIS DlVISlON ., j..
clement lessees

UN|TED STATES OF A|'V|ER|CA

-v- 2:99CR20180-01-Ml

 

EARL |SRAEL
K. Javaraman. Retained
Defense Attorney
147 Jefferson, Suite 804
Memphis, TN 38103

 

"i¢’t-M-E-N-D-E-D1 JUDGNIENT lN A CR|NIINAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 1 of the indictment Accordingly, the court has
adjudicated that the defendant is guilty of the following offense(s):

Date Count
Titie & Section MIM Offense Me_i;(§j
Concluded
18 U.S.C. 371 Conspiracy to Comrnit Bank Burg|ary 12/10/1997 1

and Aiding and Abetting

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Aot of 1904 and the |V|andatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/21/1933 |V|arch 24, 2000
Deft’s U.S. N|arsha| No.: 09079»075

Defendant’s |V|ai|ing Address:
531 Grigg Rd.
Shermonl TX 75090

/Q:J»Q,lli‘@@

This document entered onthe docketshee n c pii n f ON PH|PPS MCCALLA
Wilh R.ul€ 55 andfOr 32(b} FF'leP Dn UN|TED TATES D|STR|CT JuDGE

|V|ay e_<f §§ ,2005

 

lAmended to reflect correct amount of total restitution only.

 

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Case No: 2:99CR20180-01-|V|| Defendant Name: Earl |SRAEL F'age 2 of 5
|MPR!SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 Nlonths. The total term of incarceration is 60
|Vionths, or 5 Years

The defendant is remanded to the custody of the United States N[arshai.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UNITED STATES N|ARSHAL
By:

 

Deputy U.S. |Vlarsha|

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Case No: 2:99CR20180-01-Ml Defendant Name: Earl lSRAEL Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

6. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
7. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

8. The defendant shall not frequent places where controlled substances are illegai|y sold, used,
distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:990R20180-01-|V|| Defendant Name: Ear| lSRAEL Page 4 of 5

11. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
lawl enforcement officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a lav\.l
enforcement agency without the permission of the court;

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation ocher to make such notincations and to confirm the defendant’s compliance with such
notification requirement

14. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also compiy with the following additional conditions of supervised
release:

1. The defendant shall seek and maintain employment but shall not be employed as a
|ocksmith.
2. The defendant shall not possess electric drills or any tools which might be construed as

“burglary" or “safecracking" tools.

3. The defendant shall make monthly financial reports to the Probation Office which shall
include all bank, security, investmentl or any other kind of financial accounts, domestic or
foreign which the defendant might have.

CR|MINAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine *Tota| Restitution

$100.00 *396 755.36

 

The Specia| Assessment shall be due immediately.

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Case No: 2:99CR20180-01-Nll Defendant Name: Earl lSRAEL Page 5 of 5

F|NE
No fine imposed.
REST|TUT|ON

/
Restitution in the amount of *§396,755.36 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of pa}!ee Amount Restitution Ordered or
of Loss Percentage
of Payment
First Citizens National Bank $51,000.00 $51,000.00 Pay first
200 West Court
Dyersburg, TN 38024
The Kansas Bankers Surety $329,558.28 $329,558.28 Pay second
Company on a pro rata
611 Kansas Ave. basis
P.O. Box 1654
Topeka, KS 66601
Bradshaw & Co. insurers $16,197.08 $16,197.08 Pay second
P.O. Box 370 on a pro rata
Dyersburg, Ti\l 38025 basis

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

Restitution shall be made in the minimum amount of 15% of gross monthly
income of defendant, and shall be made within 5 days of the end of each month.

Restitution shall be made to First Citizens Nationa| Bank before payments
are made to the other payees.

   

UNITED sTATE DRISTIC COURT - WTERN DSTRIC OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:99-CR-20180 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Gregory J. Bien

SLOAN LISTROM EISENBARTH SLOAN & GLASSMAN, L.L.C.
700 Kansas Ave.

Ste. 714

Topeka, KS 66603

Honorable J on McCalla
US DISTRICT COURT

